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                   No. 22-51062
  In the United States Court of Appeals
          for the Fifth Circuit
             UNITED STATES OF AMERICA,
                                                        Plaintiff-Appellee,
                                v.

            JEROSWASKI WAYNE COLLETTE,
                                                    Defendant-Appellant.


      Appeal from the United States District Court
           for the Western District of Texas



             Brief of Defendant-Appellant



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              Certificate of Interested Persons

         UNITED STATES v. JEROSWASKI WAYNE COLLETTE,
                          No. 22-51062
   The undersigned counsel of record certifies that the persons
having an interest in the outcome of this case are those listed below:
   1. Jeroswaski Wayne Collette, Defendant-Appellant;
   2. Jaime Esparza, U.S. Attorney
   3. Ashley C. Hoff, former U.S. Attorney;
   4. Monica L. Daniels, Jason Dewey, John A. Fedock, Mar-
tha Lopez, Joseph Mahoney, and Brandi Young, Assistant

U.S. Attorneys, who represented Plaintiff-Appellee in the district
court;
   5. Maureen Scott Franco, Federal Public Defender;
   6. Anthony J. Colton and John J. Velasquez, Assistant
Federal Public Defenders, who represented Defendant-Appellant in
the district court; and

   7. Bradford W. Bogan, Assistant Federal Public Defender,
who represents Defendant-Appellant in this Court.




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   This certificate is made so that the judges of this Court may
evaluate possible disqualification or recusal.

                                     s/ Bradford W. Bogan
                                     BRADFORD W. BOGAN
                                     Attorney for Defendant-Appellant




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           Statement Regarding Oral Argument
   Collette raises two challenges to his conviction of being a felon
in possession of a firearm, in violation of 18 U.S.C. § 922(g)(1): a
Second Amendment challenge and a Commerce Clause challenge.
Although the second of these issues is foreclosed by this Court’s
precedent, the first issue would benefit from oral argument because
it involves an intervening Supreme Court decision—New York State
Rifle & Pistol Association, Inc. v. Bruen, 142 S. Ct. 2111 (2022)—
that abrogates this Court’s precedent.




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          Subject Matter and Appellate Jurisdiction
   1. Subject Matter Jurisdiction in the District Court. This
case arose from the prosecution of an alleged offense against the
laws of the United States. The district court had jurisdiction of this
case under 18 U.S.C. § 3231.
   2. Jurisdiction in the Court of Appeals. This is a direct ap-
peal from a final decision of the United States District Court for the
Western District of Texas entering a judgment of criminal convic-
tion and sentence. This Court has jurisdiction of the appeal under
18 U.S.C. § 3742(a) and 28 U.S.C. § 1291.
   A criminal defendant who wishes to appeal a district court judg-
ment must file a notice of appeal in the district court within 14 days
after the judgment’s entry. Fed. R. App. P. 4(b)(1)(A)(i). The judg-
ment here was entered on December 5, 2022. ROA.8. Collette filed

a notice of appeal three days later, on December 8, 2022. ROA.8,
168–70.




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                Issues Presented for Review
   Title 18 U.S.C. § 922(g)(1) categorially bars all convicted felons
(meaning those convicted of “a crime punishable by imprisonment
for a term exceeding one year”) from possessing firearms “in or af-
fecting commerce” or which have been “shipped or transported in
interstate or foreign commerce.” Collette’s conviction under this
statute presents two issues:
   1) Is § 922(g)(1) unconstitutional under the Second Amend-
ment?
   2) Does § 922(g)(1) exceed Congress’ powers under the Com-
merce Clause?




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                      Statement of the Case
   Collette raises two challenges to his conviction of being a felon
in possession of a firearm, in violation of 18 U.S.C. § 922(g)(1). First,
he argues that the district court erred by denying his motion to dis-
miss the indictment because the statute is unconstitutional under
the Supreme Court’s decision in New York State Rifle & Pistol As-
sociation, Inc. v. Bruen, 142 S. Ct. 2111 (2022). Second, he argues
that the statute exceeds Congress’ power under the Commerce
Clause. That issue is foreclosed by precedent; Collette raises it to
preserve it for further review by the Supreme Court.
   1. Collette is a convicted felon. He has prior state convictions
for felony possession of controlled substances (marijuana and co-
caine) and for being a felon in possession of a firearm. ROA.697–99.
Here, Collette was charged in a one-count indictment with violating

§ 922(g)(1) by possessing two firearms—a Glock 19 9mm pistol and
a Smith & Wesson .40 caliber pistol—that had been “shipped and
transported in interstate commerce[.]” ROA.21.
   This charge stemmed from Collette’s arrest following the repos-
session of his car in Midland, Texas. ROA.691–92. When Collette
went to the towing yard to retrieve his belongings from the car, he




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argued with the office manager at the towing yard about their pro-
cedures. ROA.691. One of those belongings was a holstered Glock.
ROA.691–92. As Collette was leaving the towing yard, he pointed
the gun at the manager while waiving it around—behavior that
prompted the manager to call the police. ROA.691.
   Police officers arrested Collette when he returned to the busi-
ness that evening. ROA.691–62. He admitted that he kept the Glock
in his car and that he also had a Smith & Weston pistol at home.
ROA.691–92. Collette said that he took the Glock home after re-
trieving it from his car earlier that day. ROA.692. Collette showed
officers pictures of the two pistols on his phone. ROA.692.
   Officers got a search warrant for Collette’s apartment to seize
the firearms. ROA.692. When they arrived, they could smell mari-
juana. ROA.692. Collette’s girlfriend was there at the time, but they

let her leave. ROA.692. Officers found a gun holster and a pound of
marijuana in the apartment, but no guns. ROA.692.
   Officers contacted Collette’s girlfriend, and she told them that
Collette had called her earlier and told her to move the guns.
ROA.692. She had called a friend of hers to come get them.
ROA.692. Officers retrieved both pistols—the Glock and the Smith

& Wesson—from the friend. ROA.692. They believed that Collette




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had used his Apple watch to tell his girlfriend to move the guns.
ROA.692.
      2. Collette pleaded not guilty and proceeded to trial. The morn-
ing of trial, Collette filed a motion to dismiss the indictment, argu-
ing that “§ 922(g)(1) is unconstitutional under the Second Amend-
ment, both facially and as applied to [him], under the new standard
announced by the Supreme Court in New York State Rifle & Pistol
Ass’n, Inc. v. Bruen, 142 S. Ct. 2111 (2022).” ROA.110; see ROA.141.
He argued that the charged conduct—“possession of a firearm com-
monly used for self-defense”—is protected by the plain text of the
Second Amendment. ROA.111; see ROA.114–16. The statute is fa-
cially unconstitutional, Collette argued, because the Government
cannot satisfy its burden, under Bruen, of establishing that
§ 922(g)(1) is consistent the Nation’s history of firearm regulation

given the lack of similar founding-era laws. ROA.117–21. And he
argued that the § 922(g)(1) is unconstitutional as applied to him be-
cause he has never been convicted of any violent crimes. ROA.121–
23.
      Before the trial began, the district court announced that it was
carrying the motion, which it said was “a good motion to file[,]” with

the trial “to give the Government time to respond” to it. ROA.262;




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see ROA.141. Collette apologized for “filing it late,” but the court
told him that wasn’t a problem and that it “appreciate[d] [him] fil-
ing” the motion. 1 ROA.263. The court also said that it was “a smart
thing to do, either now or at some point,” and that Collette “did the
right thing.” ROA.263.
   At trial, the Government presented testimony and audio exhib-
its from the office manager and the police officers about the events
that day at the towing yard, Collette’s arrest and interrogations,

and the recovery of the pistols. Also, an ATF agent testified that the
Glock and Smith & Wesson had been manufactured in Austria and
Connecticut, respectively, and had traveled interstate to make it to
Texas. ROA.401–02.
   The jury found Collette guilty as charged in the indictment.
ROA.137.
   3. The presentence report recommended a Sentencing Guide-
lines range of 110 to 137 months’ imprisonment, based on a total




   1Bruen was handed down on June 23, 2022, about two-and-a-half
months before Collette was tried in September 2022.




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offense level of 26 and a criminal history category of V. 2 ROA.704.
The offense level calculation included enhancements for possessing

the firearms in connection with another felony offense (the pound
of marijuana found in Collette’s apartment, or an aggravated as-
sault based on Collette’s actions at the towing yard), and obstruc-
tion of justice (based on the officers’ belief that Collette told his girl-
friend to remove the guns from the apartment). ROA.693. Collette
objected to both enhancements. ROA.707–14.

   4. The Government never responded to Collette’s motion to dis-
miss. See ROA.144. About two-and-a-half weeks after the trial, the
district court denied the motion in a memorandum opinion.
ROA.140–57. The court agreed that Bruen had abrogated the two-
step means-end scrutiny that courts had used to analyze challenges
to firearms laws before that decision. ROA.142–43. Applying the




   2 Although the Guidelines Sentencing Table produces a range of 110
to 137 months at 25, VI, the statutory maximum of 10 years capped the
range at 120 months. ROA.704; see U.S.S.G. §5G1.1(c)(1); Ch.5, Pt.A
(Sentencing Table); 18 U.S.C. § 922(g)(1), 924(a)(2). The statutory maxi-
mum was increased to 15 years in late June 2022, after Collette commit-
ted the instant offense. See Bipartisan Safer Communities Act, Pub. L.
117-159, § 12004(c)(1), (2), 136 Stat. 1313, 1329 (striking § 922(g) from
§ 924(a)(2) and adding § 924(a)(8)).




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Bruen framework, the court concluded that Collette’s conduct—pos-
session of a firearm—was covered by the plain text of the Second
Amendment. ROA.144. Thus, the court recognized that, under
Bruen, “§ 922(g)(1)’s constitutionality hinges on whether the Gov-
ernment can show that prohibiting felons from possessing a firearm
is consistent with the Nation’s historical tradition of firearm regu-
lation.” ROA.144.
   On the historical question, the district court “note[d] that the
Government did not respond to” Collette’s motion to dismiss.
ROA.144. Nevertheless, the court “conduct[ed] its own historical in-
quiry[,]” “stress[ing] the importance of constitutional questions like
the one here.” ROA.144–45.
   The court began by acknowledging that the law “prohibiting fel-
ons from possessing firearms at the federal level is less than 65

years old.” ROA.146. As for founding-era laws, the court recognized
that “history lacks direct examples about felons specifically[.]”
ROA.148 (discussing, inter alia, then-Judge Barrett’s dissent in
Kanter v. Barr, 919 F.3d 437, 451–69 (7th Cir. 2019)).
   But in the district court’s view, “just because there are no
straightforward examples does not mean the Court’s historical in-

quiry stops there.” ROA.148. The court went on to conclude that




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“[t]here is a historical tradition of excluding felons from ‘the people’”
protected by the text of the Second Amendment. ROA.154. In the
court’s view, “the people” is a term that “means only those with po-
litical rights.” ROA.149. The court then pointed to laws that pro-
hibit felons from voting and to case law limiting the First Amend-
ment rights of speech and assembly. ROA.151–54. Based on these
“historical analogies[,]” the court concluded that “this Nation has a
historical tradition of excluding felons and those who abuse their
rights to commit violence from the rights and powers of ‘the peo-
ple.’” ROA.154. Reasoning that “the right under the Second Amend-
ment should be no different[,]” the court concluded that “§ 922(g)(1)
is constitutional on its face and as applied to” Collette. ROA.155.
   5. At sentencing, the district court overruled Collette’s objec-
tions to the PSR, adopted the report and the Guidelines calcula-

tions, and sentenced Collette to 120 months’ imprisonment and
three years’ supervised release. ROA.163–64, 251–52, 255–56.
   5. Collette appealed. ROA.71.




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                    Summary of the Arguments
I. 18 U.S.C. § 922(g)(1) violates the Second Amendment
   because firearm possession is protected by the plain text
   of the Amendment, and the Government cannot show a
   historical tradition of categorically disarming felons.
   Collette’s conviction for being a felon in possession of a firearm
should be reversed because the statute of conviction unconstitution-
ally infringes on his rights under the Second Amendment. In New
York State Rifle & Pistol Ass’n, Inc. v. Bruen, the Supreme Court
reaffirmed that the Second Amendment right to bear arms is not a

second-class right. 142 S. Ct. 2111, 2156 (2022). The Court rejected
decades of “judicial deference to legislative interest balancing” in
the form of means-end scrutiny in Second Amendment jurispru-
dence. Id. at 2131. Instead, it announced that a modern firearm
regulation’s constitutionality depends only on the Second Amend-
ment’s text and historical understanding.
    Under this new framework, 18 U.S.C. § 922(g)(1) violates the
Second Amendment. The statute impacts the core Second Amend-
ment right to possess a firearm for self-defense. This right belongs

to all “the people” under the Constitution, including felons. And the
Government cannot meet its burden to show § 922(g)(1) is con-
sistent with the Nation’s historical tradition of firearm regulation,




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because there is no relevant historical evidence of categorically dis-
arming felons.
II. 18 U.S.C. § 922(g)(1) is unconstitutional because it
    exceeds Congress’ power to regulate interstate and
    foreign commerce; alternatively, it should be construed
    to require a closer connection to interstate commerce
    than alleged or admitted in this case.
   Collette also preserves for further review by the Supreme Court
his argument, foreclosed by circuit precedent, that § 922(g)(1) ex-
ceeds Congress’ power to regulate interstate commerce because that
statute permits a conviction based only on the manufacture of the
firearm or ammunition outside the state in which it was possessed.




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                    Arguments and Authorities
   18 U.S.C. § 922(g)(1) violates the Second Amendment
   because firearm possession is protected by the plain text
   of the Amendment, and the Government cannot show a
   historical tradition of categorically disarming felons.
   Collette was charged with being a felon in possession of a fire-
arm, in violation of 18 U.S.C. § 922(g)(1). He moved to dismiss the

indictment, arguing that the statute is unconstitutional under the
Second Amendment as interpreted in New York State Rifle & Pistol
Ass’n, Inc. v. Bruen, 142 S. Ct. 2111, 2156 (2022). Under Bruen’s
framework for assessing the constitutionality of firearms re-
strictions, the first question is whether the challenged conduct is
covered by the plain text of the Second Amendment. If so, the law

is presumptively unconstitutional and the burden shifts to the Gov-
ernment to provide evidence that the restriction is consistent with
this Nation’s historical tradition of firearm regulation.
   After a jury found Collette guilty as charged in the indictment,
the district court denied Collette’s motion. That was error. Although
the court correctly recognized that the Second Amendment covered
the charged conduct—firearm possession—it erred in its historical
analysis. The Government never responded to Collette’s motion to
dismiss the indictment, so it offered no evidence on any relevant




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history. Because it is the Government’s burden to do so, that silence
should alone be sufficient to reverse the district court’s denial of
Collette’s motion. Nevertheless, the district court undertook its own
historical analysis. It concluded, through analogy to laws depriving
felons of voting rights, and case law regarding First Amendment
speech and assembly rights, that felons are not among “the people”
protected by the Second Amendment. Because that analysis is in-
consistent with the Bruen framework, the court erred in denying
Collette’s motion to dismiss. This Court should reverse the district
court’s denial of the motion and vacate Collette’s conviction.
       Standard of review.
   The Court reviews constitutional challenges to a statute de
novo. See United States v. Rahimi, 61 F.4th 443, 450 (5th Cir. 2023)
(quoting In re Bonvillian Marine Serv., Inc., 19 F.4th 787, 792 (5th
Cir. 2011)), petition for cert. filed, No. 22-915 (U.S. Mar. 21, 2023).
       Bruen abrogated the Second Amendment framework
       previously employed by circuit courts after Heller .
   The Second Amendment to the United States Constitution man-
dates that a “well-regulated militia, being necessary to the security
of a free state, the right of the people to keep and bear arms, shall
not be infringed.” U.S. Const. amend. II. In District of Columbia v.




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Heller, 554 U.S. 570, 630 (2008), the Supreme Court held that the
Second Amendment codifies an individual right to possess firearms,
the “central component” of which is self-defense. See Bruen, 142 S.
Ct. at 2133 (citing Heller and McDonald v. City of Chicago, 561 U.S.
742, 767 (2010)).
   After Heller, this Court “adopted a two-step inquiry for analyz-
ing laws that might impact the Second Amendment.” Hollis v.
Lynch, 827 F.3d 436, 446 (5th Cir. 2016). In the first step, courts
would ask “whether the conduct at issue falls within the scope of
the Second Amendment right.” United States v. McGinnis, 956 F.3d
747, 754 (5th Cir. 2020) (quoting Nat’l Rifle Ass’n of Am., Inc. v.
Bureau of Alcohol, Tobacco, Firearms & Explosives, 700 F.3d 185,
194 (5th Cir. 2012)). This involved determining “whether the law
harmonizes with the historical traditions associated with the Sec-

ond Amendment guarantee.” Id. at 754. If the conduct was outside
the scope of the Second Amendment, then the law was constitu-
tional. Id. Otherwise, courts proceeded to the second step, to deter-
mine whether to apply strict or intermediate scrutiny. Id. That
means-end framework has now been repudiated by the Supreme
Court. See Bruen, 142 S. Ct. at 2127; see also Rahimi, 61 F.4th at

450.




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      In Bruen, the Supreme Court announced a new framework for
analyzing Second Amendment claims, abrogating the two-step in-
quiry adopted by this Court and others. Bruen rejected the second
step of that framework because “Heller and McDonald do not sup-
port applying means-end scrutiny in the Second Amendment con-
text.” Bruen, 142 S. Ct. at 2127. Bruen reasoned that “[s]tep one of
the predominant framework is broadly consistent with Heller,
which demands a test rooted in the Second Amendment’s text, as
informed by history.” Id. Under Bruen’s framework, “when the Sec-
ond Amendment’s plain text covers an individual’s conduct, the
Constitution presumptively protects that conduct.” Id. at 2126. The
Government then “must demonstrate that the regulation is con-
sistent with this Nation’s historical tradition of firearm regulation.”
Id. Only then may a court conclude that the individual’s conduct

falls outside of the Second Amendment’s “unqualified command.”
Id.
      1. The Second Amendment’s plain text covers the
         conduct prohibited by § 922(g)(1): possession of a
         firearm.
      Section 922(g)(1) permanently disqualifies all felons from exer-
cising the fundamental right to possess firearms for self-defense.
The district court correctly concluded that, under the plain text of




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the Second Amendment, the statute is presumptively unconstitu-
tional. ROA.144; See Bruen, 142 S. Ct. at 2129–30.
   The Second Amendment protects “the right of the people to keep
and bear Arms ….” U.S. Const. amend. II. The plain text—“keep
and bear arms”—means possessing and carrying weapons. Heller,
554 U.S. at 583–92. Bruen clarified that the core right to possess
and carry a firearm for self-defense, identified in Heller and McDon-
ald, extends outside the home. 142 S. Ct. at 2122. Section 922(g)(1)
is a complete ban on all firearm possession, without regard to the
type of firearm or the way it is used. It therefore infringes upon the
core Second Amendment right to possess a firearm for self-defense.
See McDonald, 561 U.S. at 767; see also Rahimi, 61 F.4th at 454
(possession of rifles and pistols, weapons “in common use today,”
“easily falls within the purview of the Second Amendment”).

   The sole question at this stage of the Bruen analysis is whether
“conduct” is covered by the plain text of the Second Amendment.
142 S. Ct. at 2126. Because firearm possession is conduct covered
by the Second Amendment, it is presumptively protected.




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   2. Felons are among “the people” protected by the
      Second Amendment.
   The question of a person’s status, as a felon or otherwise, is ir-
relevant at this stage of the Bruen framework. The Second Amend-
ment covers felons by recognizing that the right to keep and bear
arms belongs to “the people.” U.S. Const. amend. II. Because “the
people” includes “all Americans[,]” see Heller, 554 U.S. at 581,

whether a category of person can be disarmed is a question of his-
torical tradition, which is the Government’s burden under Bruen.
    Heller rejected the theory that “the people” protected by the
Second Amendment were limited to a subset—i.e., those in a mili-
tia. 554 U.S. at 579–81, 592–600. Heller explained that when the
Constitution refers to “‘the people,’ the term unambiguously refers
to all members of the political community, not an unspecified sub-
set,” and that there is a “strong presumption that the Second
Amendment right is exercised individually and belongs to all Amer-

icans.” Id. at 580–81.
   Like the First, Fourth, and Ninth Amendments, the Second
Amendment codified an individual right. Id. at 579–80. This is dis-
tinguishable from other Constitutional provisions for “collective”




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actions by “the people,” like voting, which enumerate the civic ex-
ercise of powers, not rights. Id. Individual rights extend to “the peo-
ple,” or a “‘class of persons who are part of a national community or
who have otherwise developed sufficient connection with this coun-
try to be considered part of the community.”’ Id. at 580 (quoting
United States v. Verdugo-Urquidez, 494 U.S. 259, 265 (1990)). Cat-
egorically excluding felons from the plain text of the Second Amend-
ment would, therefore, endanger felons’ basic protections under the
First and Fourth Amendments, or else run afoul of Bruen’s directive
that the Second Amendment is “not a second-class right, subject to
an entirely different body of rules than the other Bill of Rights guar-
antees.”’ Bruen, 142 S. Ct. at 2156 (quoting McDonald, 561 U.S. at
780 (plurality op.))
   One sitting Justice has explained that this language from Heller

means that a person’s status is properly considered in the question
of historical tradition, rather than the existence of the right. In
Kanter v. Barr, then-Judge Barrett observed that, under Heller, the
word “people” refers to “all Americans,” meaning that felons are not
“categorically excluded from our national community.” 919 F.3d
437, 453 (7th Cir. 2019) (Barrett, J., dissenting). The “question is

whether the government has the power to disable the exercise of a




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right that they otherwise possess, rather than whether they possess
the right at all.” Id. Thus, a person’s status as a felon is properly
considered in the historical tradition inquiry and does not affect
whether the person has a Second Amendment right. Id. at 451–52.
   Nevertheless, some district courts have held that felons are ex-
cluded from “the people” protected by the Constitution, because
Heller and Bruen referenced “law-abiding” citizens in dicta. See
United States v. America v. Riley, No. 1:22-cr-163 (RDA), 2022 WL
7610264, at *10–11 (E.D. Va. Oct. 13, 2022). The district court here
concluded that felons are excluded from “the people” for a slightly
different reason: it read Heller to define “the people” as “only those
with political rights.” ROA.149. But neither Heller nor Bruen held
that “the people” is limited to “law-abiding” citizens or excludes fel-
ons. Rather, Heller explained that “whatever else [the Second

Amendment] leaves to future evaluation, it surely elevates above
all other interests the right of law-abiding, responsible citizens to
use arms in defense of hearth and home.” 554 U.S. at 635. Similarly,
in Bruen, the Court noted that it was undisputed that the petition-
ers—“two ordinary, law-abiding, adult citizens—are part of ‘the
people’ whom the Second Amendment protects. 142 S. Ct. at 2134.

The Court did not hold the reverse—that being law-abiding was a




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prerequisite to enjoying the basic protections of the Second Amend-
ment. Such a reading would conflict with Bruen’s language that the
“Second Amendment guaranteed to ‘all Americans’ the right to bear
commonly used arms in public subject to certain reasonable, well-
defined restrictions.” 3 Bruen, 142 S. Ct. at 2156.

   In Rahimi, this Court rejected the argument that the Second
Amendment applies only to “law-abiding” citizens in the context of
a challenge to the similar ban on possession of firearms by persons
subject to domestic violence protective orders, under 18 U.S.C.
§ 922(g)(8). Rahimi, 61 F.4th at 451–53. The Court rejected the Gov-
ernment’s argument that the Second Amendment could be so lim-
ited because of the ample scope of Constitutional protections for




   3  The use of “law-abiding” could also be understood as describing the
purpose for exercising the right, rather than defining a category of per-
son. See McDonald, 561 U.S. at 749 (reiterating that Heller “held that
the Second Amendment protects the right to keep and bear arms for the
purpose of self-defense”). Heller’s use of “law-abiding” or “lawful” is not
tied to the category of person, but to the purpose for which the firearm is
used. See, e.g., Heller, 554 U.S. at 577, 595, 620, 625, 626, 630 (repeatedly
describing the historical right as one to bear arms “for a lawful purpose”
and categorizing its limitations on the purpose or type of confrontation,
not the category of person).




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“the people,” and finding that the Supreme Court’s references to
“law-abiding” citizens were meant to reference instead the histori-
cal exclusion of certain groups. Id. Whether people convicted of fel-
ony offenses are so historically excluded is a question to be exam-
ined in the second stage of the Bruen analysis.
   Because the Second Amendment right belongs to “all Ameri-
cans,” Heller, 554 U.S. at 580–81, § 922(g)(1)’s categorical ban on an
individual’s possession of a firearm based on their status as a felon
is presumptively unconstitutional under the plain text of the Sec-
ond Amendment at the first stage of the Bruen analysis. Whether a
category of people can be disarmed is a question of historical tradi-
tion, which is the Government’s burden under Bruen.
   3. The Government cannot show that § 922(g)(1) is
      “consistent with the Nation’s historical tradition of
      firearm regulation.”
   The district court correctly recognized that, because the Second
Amendment presumptively protects the conduct prohibited by
§ 922(g)(1), the Bruen framework requires the Government to “jus-

tify its regulation by demonstrating that it is consistent with the
Nation’s historical tradition of firearm regulation.” Rahimi, 61
F.4th at 453 (quoting Bruen, 142 S. Ct. at 2130); see ROA.144. But
the district court strayed from the framework Bruen established for




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analyzing whether such a historical tradition exists. The district
court analogized § 922(g)(1) to laws barring felons from voting and
to precedent limiting the First Amendment rights to speech and as-
sembly. See ROA.148–55. That was the wrong approach. Bruen de-
scribed three metrics by which the sufficiency of the historical prec-
edent should be analyzed: temporal proximity to the founding era,
similarity to the challenged restriction, and breadth. 142 S. Ct. at
2130–34, 2136, 2138.
   First, regarding temporal proximity to the founding era, “when
it comes to interpreting the Constitution, not all history is created
equal. Constitutional rights are enshrined with the scope they were
understood to have when the people adopted them.” Bruen, 142 S.
Ct. at 2136 (quoting Heller, 554 U.S. at 634–35; emphasis in Bruen).
“The Second Amendment was adopted in 1791; the Fourteenth in

1868. Historical evidence that long predates either date may not
illuminate the scope of the right if linguistic or legal conventions




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change in the intervening years.” 4 Id. Similarly, the Court ex-
plained that “we must also guard against giving postenactment his-

tory more weight than it can rightly bear.” Id. The Court expressed
skepticism about reliance on laws passed long after the passage of
the Second Amendment and explained, “to the extent later history
contradicts what the text says, the text controls.” Id. at 2137.
   Second, the founding-era historical precedent must be compara-
ble to the challenged regulation. How similar the historical precur-

sors must be to the challenged law depends on the societal problem
it seeks to address. When “a challenged regulation addresses a gen-
eral societal problem that has persisted since the 18th century,” the
Government must identify distinctly similar historical regulations.




   4  The Fourteenth Amendment was implicated in Bruen because the
Fourteenth Amendment imposes the Second Amendment’s pronounce-
ment on a state regulation or law. The Supreme Court did not hold for a
challenge to a federal statute that regulations from around the passage
of the Fourteenth Amendment, or 1868, would carry the same weight as
those from around ratification of the Second Amendment, or 1791. See
Bruen, 142 S. Ct. at 2137–38; see also id. at 2163 (Barrett, J., concurring).
Indeed, Bruen acknowledged that 19th century evidence was secondary
to that from the Nation’s founding, see id. at 2137, and its value is likely
even more limited when addressing a federal statute.




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Bruen, 142 S. Ct. at 2131. The “lack of a distinctly similar historical
regulation addressing that problem” or evidence that earlier gener-
ations addressed the societal problem through materially different
means “is relevant evidence that the challenged regulation is incon-
sistent with the Second Amendment.” Id. (emphasis added). The to-
tal handgun ban in Heller and public-carry restriction in Bruen in-
volved this type of “straightforward” historical inquiry. Id.
   Bruen’s historical analysis illustrates that “distinctly similar”
means the regulations are nearly identical or meaningfully the
same. In contrast, “cases implicating unprecedented societal con-
cerns or dramatic technological changes may require a more nu-
anced approach.” Bruen, 142 S. Ct. at 2132. “When confronting such
present-day firearm regulations, this historical inquiry that courts
must conduct will often involve reasoning by analogy ….” Id.

Whether a historical regulation is a proper analogue for a uniquely
modern regulation turns on whether they are “relevantly similar,”
based in part on how and why the regulations burden the Second
Amendment right. Id. at 2132–33. But this “nuanced approach”
only applies to “modern regulations that were unimaginable at the
founding.” Id. at 2132. As this Court phrased the inquiry in Rahimi,

regarding a different provision in § 922(g), whether the historical




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precedents are “relevantly similar” depends on a comparison of how
the laws restricted the right bear arms and why the burden was so
placed, neither requiring a “historical twin” nor accepting an ana-
logue that “remotely resembles” current law but “risks endorsing
outliers that our ancestors never would have accepted.” Rahimi, 61
F.4th at 454 (quoting Bruen, 142 S. Ct. at 2132–33).
   Third, the Government must show “a tradition of broadly pro-
hibiting” conduct in the manner of the challenged restriction.
Bruen, 142 S. Ct. at 2138 (emphasis added). In other words, the
founding-era historical evidence must show “a governmental prac-
tice has been open, widespread, and unchallenged since the early
days of the Republic.” Id. at 2137 (quoting NLRB v. Noel Canning,
573 U.S. 513, 572 (2014) (Scalia, J., concurring in judgment)). The
Government cannot “simply posit that the regulation promotes an

important interest.” Id. at 2126. Nor can it rely on “outlier” histori-
cal restrictions. Id. at 2133, 2156. Indeed, Bruen “doubt[ed] that
three colonial regulations could suffice to show a tradition[.]” Id. at
2142. Moreover, it is incumbent on the Government, not the Court,
to provide the record of this broad historical tradition. See id. at
2130 n.6, 2150.




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       a. The history of categorical firearms restrictions
          does not support disarming felons.
   Reviewing historical examples of categorical restrictions on fire-
arm possession—i.e., wholesale disarmament of a particular cate-
gory of person—sets the proper backdrop for the Bruen analysis of
temporal proximity to the founding era, similarity to the challenged
restriction, and breadth. While there is some limited historical evi-

dence of disarming certain specific categories of people, none sup-
port finding § 922(g)(1) constitutional.
   Historical analyses of firearms rights and regulations generally
begin with pre-founding English common law, though Bruen cau-
tions against placing undue emphasis on English laws, particularly
laws that long predate this Nation’s founding. See Bruen, 142 S. Ct.
at 2138–39. As early as the 15th and 16th centuries, English law
targeted potentially disloyal communities, including Catholics and
the Welsh, for disarmament. See Joseph G. S. Greenlee, The Histor-

ical Justification for Prohibiting Dangerous Persons from Pos-
sessing Arms, 20 Wyo. L. Rev. 249, 257–65 (2020). In the Restora-
tion period following the English Civil War of the mid-17th century,
the Stuart monarchs more aggressively disarmed political and reli-
gious dissidents. See Heller, 554 U.S. at 592–93. For example, the




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Militia Act of 1662 permitted disarming those adjudged to be “dan-
gerous to the Peace of the Kingdom;” the 1671 Game Act involved
disarmament of those who did not own property, particularly in
Protestant regions; and forfeiture of “armour” could be ordered for
those who went “armed to terrify the King’s subjects.” Id.; see Kan-
ter, 919 F.3d at 457 (Barrett, J., dissenting).
   Following the Glorious Revolution in 1688, a Convention of
elected representatives drafted the Declaration of Rights—a prede-
cessor to the Second Amendment codified as the English Bill of
Rights—which included that “the Subjects which are Protestants,
may have Arms for their Defence suitable to their Conditions, and
as allowed by law.” See Heller, 554 U.S. at 593; Alice Ristroph, The
Second Amendment in a Carceral State, 116 Nw. U. L. Rev. 203, 228
(2021). Almost immediately thereafter, Parliament began disarm-

ing Catholics viewed as potential dissidents. See Heller, 554 U.S. at
593. Indeed, through the 18th century, England targeted “papists
and other disaffected persons, who disown his Majesty’s govern-
ment,” for disarmament, to quell concerns over potential rebellions
and insurrections. See Greenlee at 260–61. The most discernable




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English tradition prior to American independence was the disarma-
ment of religious dissidents perceived as threatening to the crown.
See id. at 257–61.
   In the American colonies during the 17th and 18th centuries,
categorical disarmament was largely reserved for Indians, inden-
tured servants, slaves, black freedmen, and others outside of the
“body politic.” See Robert H. Churchill, Gun Regulation, the Police
Power, and the Right to Keep Arms in Early America, 25 Law &
Hist. Rev. 139, 156–58 (2007). Scholars have likewise recognized a
trend of disarming individuals who voluntarily excluded them-
selves from that “body politic” by refusing to swear allegiance, first
to the crown, and later to the American Revolution and newly es-
tablished states and commonwealths. Id. at 157–61. As in England,
the colonial period also included examples of disarming individuals

based on their religion, where religious expression was deemed se-
ditious or incompatible with loyalty to the sovereign. See Greenlee
at 263.
   The Second Amendment was ratified in 1791. The codification
of the right repudiated the attempted disarmament of disloyal col-
onists, much like its English precursor was a rejection of the dis-

armament of dissidents in Restoration-era England. See Heller, 554




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U.S. at 592–95, 598. Commentary immediately following ratifica-
tion illustrates the view that certain restrictions from the English
Restoration were inconsistent with the right that was ultimately
codified in the Second Amendment. See id. at 606–08. And while
the New Hampshire, Massachusetts, and Pennsylvania ratifying
conventions included proposals to limit the right to “peaceable citi-
zens,” or to expressly permit disarmament for those in “rebellion”
or for “crimes committed,” this language was not included in the
Second Amendment itself. 5 See Kanter, 919 F.3d at 454–55 (Barrett,
J., dissenting).
   Historical evidence from the period immediately surrounding
ratification is entitled to significant weight under Bruen. While




   5  In Rahimi, this Court rejected the use of many of these historical
English and colonial era laws with regard to the restriction on possession
of firearms by those subject to protective orders, but did so by focusing
on the clear dissimilarities between those laws and that specific provi-
sion, including that these earlier English and colonial-era laws were tar-
geted at preserving the social and political order generally, and not at
the protection of individuals by the threat posed by another, and that
other laws proffered by the government were based on criminal proceed-
ings rather than the civil proceedings underlying § 922(g)(8)’s prohibi-
tion. 61 F.4th at 457.




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some categorical firearms restrictions persisted during this time,
scholars have noted the period was marked by less burdensome
temporary restrictions and the ability to have firearms rights re-
stored. See Greenlee at 268–70. For example, some religious dissi-
dents in the Massachusetts Bay Colony had their rights restored
after expressing contrition, and even those who engaged in an
armed rebellion in Massachusetts were only subjected to a three-
year prohibition on bearing arms. Id.
   By the 19th century, “prohibitions on arms possession were
mostly discriminatory bans on slaves and freedmen,” or on targeted
disfavored groups like “tramps.” Greenlee at 269–70. But these pro-
hibitions, like earlier laws, did not disarm felons as a class. After a
full survey of printed session laws on gun regulation, history pro-
fessor Robert H. Churchill concluded: “[A]t no time between 1607

and 1815 did the colonial or state governments of what would be-
come the first fourteen states exercise a police power to restrict the
ownership of guns by members of the body politic.” Churchill at 142,
143 n.11.
   It was not until the 20th century that legislatures began to pass
modern, categorical firearms bans, including on felons. See Green-




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lee at 272–75. Congress passed the first version of the modern fed-
eral firearm ban for violent felons in 1938, expanding it to include
non-violent felons in 1961 and all possession in 1968. 6 State laws
disarming felons were, likewise, first adopted in the early 20th cen-
tury. See Adam Winkler, Heller’s Catch-22, 56 UCLA L. Rev. 1551,
1563 (2009) (“Bans on ex-felons possessing firearms were first
adopted in the 1920s and 1930s, almost a century and a half after
the Founding.”); Nelson Lund, The Second Amendment, Heller, and

Originalist Jurisprudence, 56 UCLA L. Rev. 1343, 1357 (2009) (sim-
ilar).
    A brief review of English and early American historical categor-
ical firearms restrictions evinces a troubling tradition of disarming
religious and political dissidents and targeted minority communi-
ties, but not felons. The Second Amendment is properly understood
as a repudiation of many of these oppressive regulations, rather
than an endorsement of such categorical restrictions. But insofar as




    6See Federal Firearms Act of 1938, 75 Cong. Ch. 850, § 2(e), 52 Stat.
1250, 1251 (repealed); Act of Oct. 3, 1961, Pub. L. No. 87-342, 75 Stat.
757 (repealed); Gun Control Act of 1968, Pub. L. 90-618, 82 Stat. 1213
(codified at 18 U.S.C. §§ 921–928).




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the United States incorporated any tradition of categorical exclu-
sion, it assuredly did not include the targeted disarmament of fel-
ons until the 20th century.
      b. There is no evidence of “distinctly similar”
         founding-era regulations disarming all felons.
   Turning to the Bruen framework, the Government must provide
historical examples of regulations that are “distinctly similar” to
§ 922(g)(1) because, as in Heller and Bruen, the restriction does not
address “unprecedented societal concerns or dramatic technological
changes.” Bruen, 142 S. Ct. at 2132–33. Section 922(g)(1) categori-
cally bans firearm possession by all felons. Crime and felons have
existed since the founding. So too has the presumed “societal con-
cern” addressed by § 922(g)(1): felons possessing firearms. The Gov-
ernment cannot therefore rely on the “nuanced approach” of “ana-
logical reasoning” using “relevantly similar” analogues. See Bruen,
142 S. Ct. at 2132. The “relevantly similar” inquiry is reserved for
statutes addressing uniquely modern problems that would have

been “unimaginable” at the founding. See id.




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    There are no “distinctly similar” founding-era laws demonstrat-
ing a tradition of broadly prohibiting firearm possession by felons.7

See Kanter, 919 F.3d at 454 (Barrett, J., dissenting) (noting scholars




   7  To the contrary, there is considerable evidence that felons were in-
cluded among those citizens to whom the Second Amendment was ex-
pressly directed. Even though the right protected by the Second Amend-
ment “does not depend on service in the militia[,]” Bruen, 142 S. Ct. at
2127, it must extend to at least the pool of individuals from whom the
militia would be drawn. And in the founding era, felons were part of the
militia pool. Just one year after the ratification of the Second Amend-
ment, Congress provided that “each and every free able-bodied white
male citizen of the respective states, resident therein, who is or shall be
of the age of eighteen years, and under the age of forty five years … shall
severally and respectively be enrolled in the militia.” Act of May 8, 1792,
§ 1, 1 Stat. 271. The Act “exempted” certain class of people, but not fel-
ons. Id. § 2, 1 Stat. 272. Similar contemporaneous state militia statutes
also failed to exempt felons. See Laws of the State of Delaware, ch.
XXXVI, §§ 1, 2, 4, at 1134–36 (1797); Public Statute Laws of the State of
Connecticut, Title CXII, ch. I, §§ 1, 10, at 499-500, 505-06 (1808); Herty,
Digest of the Laws of Maryland, “Militia,” §§ 7, 15, 19, 20, at 367–70
(1799); Wright & Potter, 7 Acts and Laws of the Commonwealth of Mas-
sachusetts, 1780–1805, ch. 14, at 381–82, 389–90 (1898); Constitution
and Laws of the State of New-Hampshire, Act of Dec. 28, 1792, at 251–
52, 256 (1805); Thomas Greenleaf, Laws of the State of New-York, Act of
April 4, 1786, at 227–28, 232–33 (1792); Mitchell, Statutes at Large of
Pennsylvania, Act of March 20, 1780, §§ III, XXI, at 146, 154 (1700–
1809); Marbury, Digest of the Laws of the State of Georgia, Act of Decem-
ber 24, 1792, §§ 9–10, at 350 (1802).




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have not been able to identify any founding-era laws disarming all
felons); see also Winkler at 1563 (“The Founding generation had no
laws … denying the right to people convicted of crimes.”). The ear-
liest firearm restrictions for felons in America were passed in the
20th century. See, e.g., Greenlee at 272–75; C. Kevin Marshall, Why
Can’t Martha Stewart Have A Gun?, 32 Harv. J.L. & Pub. Pol’y 695,
708 (2009) (“Though recognizing the hazard of trying to prove a neg-
ative, one can with a good degree of confidence say that bans on
convicts possessing firearms were unknown before World War I.”);
Carlton F.W. Larson, Four Exceptions in Search of A Theory: Dis-
trict of Columbia v. Heller and Judicial Ipse Dixit, 60 Hastings L.J.
1371, 1376 (2009) (“As far as I can determine, state laws prohibiting
felons from possessing firearms or denying firearms licenses to fel-
ons date from the early part of the twentieth century. The earliest

such law was enacted in New York in 1897, and similar laws were
passed by Illinois in 1919, New Hampshire, North Dakota, and Cal-
ifornia in 1923, and Nevada in 1925.”).
   The modern statutes that dispossess felons of firearms, includ-
ing § 922(g)(1), bear “little resemblance to laws in effect at the time
the Second Amendment was ratified.” United States v. Booker, 644

F.3d 12, 24 (1st Cir. 2011); see also Nat’l Rifle Ass’n of Am., 700 F.3d




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at 196. Reliance on the passage of § 922 itself to support its own
historical tradition is logically circular and ignores Bruen’s skepti-
cism of 20th century historical evidence. See Bruen, 142 S. Ct. at
2137, 2154 n.28; cf. Scarborough v. United States, 431 U.S. 563, 569
(1977) (§ 922(g)(1)’s predecessor “was a last-minute amendment to
the Omnibus Crime Control Act enacted hastily with little discus-
sion and no hearings.”).
   Before Bruen, courts often acknowledged the absence of found-
ing-era felony restrictions. Yet they concluded that § 922(g)(1) was
constitutional by relying on Heller’s dicta that prohibitions on felon
firearm possession were “longstanding,” or by applying means-end
scrutiny that Bruen swept aside. See, e.g., Booker, 644 F.3d at 24
(noting that Heller, 554 U.S. 626–27 & n.16 did not cast doubt on
longstanding prohibitions on firearm possession by certain individ-

uals, including felons, which are presumptively lawful)); Medina v.
Whitaker, 913 F.3d 152, 159–60 (D.C. Cir. 2019) (same); see also
United States v. Williams, 616 F.3d 685, 691–94 (7th Cir. 2010)
(holding that § 922(g)(1) survives Second Amendment challenge un-
der intermediate scrutiny).
   This reasoning is irreconcilable with the framework laid out in

Bruen, which expressly rejected the use of means-end scrutiny.




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Bruen, 142 S. Ct. at 2127–30. Moreover, the “longstanding prohibi-
tions” language in Heller is dicta, and courts have cautioned against
reliance on it. See United States v. Skoien, 614 F.3d 638, 640 (7th
Cir. 2010); see also Winkler at 1567. Bruen requires the Govern-
ment to provide “distinctly similar” historical examples from the
founding era to prove that a restriction on the Second Amendment
right is consistent with the Nation’s traditions. See generally Bruen,
142 S. Ct. 2111. Heller did not provide the historical basis for its
“longstanding prohibitions” dicta, and Bruen acknowledged as
much. See Bruen, 142 S. Ct. at 2128 (noting its prior caution that it
was not undertaking an “exhaustive historical analysis … of the full
scope of the Second Amendment”). Bruen did not carve out an ex-
ception to its framework for firearm restrictions for felons. 8 Courts
are simply not permitted to disregard the framework laid out in




   8  Bruen’s majority opinion is silent about this issue. Justice Ka-
vanaugh, in a concurring opinion joined by Chief Justice Roberts, cited
the “longstanding prohibitions” language from Heller. 142 S. Ct. at 2162
(Kavanaugh, J., concurring). Justice Alito also noted in a concurrence
that the opinion did not disrupt the holdings of Heller. Id. at 2157 (Alito,
J., concurring). But neither concurrence announced that § 922(g)(1) is
constitutional or subject to a relaxed Second Amendment analytical
framework.




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Bruen based on dicta from Heller. If categorical prohibitions for fel-
ons are indeed “longstanding” and satisfy the newly articulated
framework in Bruen, the Government would be able to identify spe-
cific “distinctly similar” historical examples of such a tradition. But
it cannot.
   The absence of founding-era laws specifically disarming felons
forecloses the Government’s ability to show “distinctly similar his-
torical regulation[s]” like § 922(g)(1).
       c. The Government cannot satisfy the “relevantly
          similar” inquiry either.
   In Rahimi, this Court appeared to adopt the “relevantly similar”
standard for all forms of firearm regulation, regardless of whether
the societal problem was of a long-standing nature. See Rahimi, 61
F.4th at 455–60. Even if the Court applied this more “nuanced ap-
proach,” which should be reserved under Bruen for statutes ad-
dressing unprecedented modern problems, there is no evidence of
“relevantly similar” firearms restrictions to § 922(g)(1) from the

founding era. Courts that have upheld § 922(g)(1) since Bruen have
largely eschewed the requirement to show specific similar historical
regulations. Instead, many have relied on general arguments by the




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Government that § 922(g)(1) is consistent with traditions of disarm-
ing other “unvirtuous” citizens. This is inconsistent with Bruen.
   Even prior to Bruen, some courts relied on a purported tradition
of disarming “unvirtuous” citizens to support modern felon dis-
armament laws. See Medina, 913 F.3d at 159 (collecting cases).
Scholars have, however, noted the absence of historical support for
this “virtuous citizen” theory. See Greenlee at 275–83. The earliest
articles promoting the theory fail to cite to any historical evidence.
See id. Rather, as described above, historical categorical disarma-
ment was generally limited to disempowered minority communi-
ties—e.g., slaves and Indians—and those who evidenced disloyalty
to the government. See id. at 261–65; Churchill at 156–61. Many of
these types of categorical restrictions were rejected by the Second
Amendment but even those of arguable historical relevance do not

“impose a comparable burden on the right” and are not “comparably
justified” to § 922(g)(1)’s categorical disarmament of felons. 9 See
Bruen, 142 S. Ct. at 2133 (explaining metrics of comparing “rele-
vantly similar” analogues).




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   Bruen also expressly rejected the type of overly generalized rea-
soning employed under the “virtuous citizen” theory. In Bruen, the
state of New York relied on a select few disparate historical re-
strictions on public carry of firearms for specific purposes or in spe-
cific sensitive places, to establish a more general principle of limit-
ing all public carry. 142 S. Ct. at 2135, 2142–50. Throughout Bruen,
the Court reasoned that the respondents had “define[d] the cate-
gory … far too broadly,” and rejected the extrapolation of a broad
tradition from a few narrow historical restrictions. See id. at 2134,
2150, 2156. The same is true here. Historical evidence of disarming
slaves, Indians, and political opponents cannot be generalized to
encompass all “unvirtuous” people—a term that mischaracterizes
those historical categories and which would encompass considera-
bly more categories than felons. The term lacks a limiting principle

and is defined “far too broadly.” See id. at 2134; cf. Medina, 913 F.3d
at 159–60 (rejecting the similar “dangerousness standard” as too
“amorphous ... to delineate the scope of the Second Amendment”).
It also invites deference to legislatures to define the “unvirtuous”
people and reliance on something like means-end scrutiny for
courts to review that definition. Both were repudiated by Bruen.

142 S. Ct. at 2131.




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   The district court employed similar “virtuous citizen” reasoning
here, concluding that historical felony restrictions on rights unre-
lated to firearms, such as voting, can serve as “relevantly similar”
historical evidence to support the constitutionality of § 922(g)(1).
ROA.148–55. This approach is inconsistent with Bruen and the Sec-
ond Amendment for three reasons. First, the comparison misunder-
stands that civic or collective rights like voting are fundamentally
distinguishable from individual rights like the one protected by the
Second Amendment. See Kanter, 919 F.3d at 462–64 (Barrett, J.,
dissenting); Heller, 554 U.S. at 579–80. Second, it ignores that
Bruen requires the Government to show consistency with the “his-
torical tradition of firearm regulation.” Bruen, 142 S. Ct. at 2130
(emphasis added). Bruen’s comparison of historical analogues turns
on how and why the regulations burden the right to armed self-de-

fense. See id. at 2133. This analysis cannot be applied to historical
restrictions on voting or other rights because they simply do not
burden the Second Amendment right. Third, it ignores that the
analysis should be limited to “distinctly similar” historical exam-
ples. See id. at 2131.
   Moreover, insofar as this “virtuous citizen” theory is grounded

in presumptions about the Founders’ views on firearms rights, it is




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simply not the test laid out by Bruen. Bruen directed parties to com-
pare challenged firearms laws to actual historical regulations (“his-
torical tradition of firearm regulation”), not merely the Founders’
views. Bruen, 142 S. Ct. at 2130 (emphasis added)); see also id. at
2142 (“[T]here is little evidence of an early American practice of
regulating public carry by the general public.”).
   That the Founders may have identified and considered the pos-
sibility of disarming felons, but ultimately did not, also itself illus-
trates that § 922(g)(1) is unconstitutional. Bruen counsels that ear-
lier generations addressing a problem “through materially different
means,” or rejecting efforts to put forth analogous regulations, is
evidence of a challenged statute’s unconstitutionality. See id. at
2131. Even if this Court were to rely on representations about the
Founders’ views about the scope of the Second Amendment—and

Heller warned it was “dubious to rely on such history to interpret a
text that was widely understood to codify a pre-existing right[,]” 554
U.S. at 603—the fact that the Amendment does not include pro-
posed language limiting the right for certain categories of people is
evidence that the Founders rejected this construction. See Kanter,
919 F.3d at 454–56 (Barrett, J., dissenting) (describing rejected pro-

posals from the New Hampshire, Massachusetts, and Pennsylvania




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ratifying conventions, which could have limited those covered by
the Second Amendment).
   This Court rejected a similar argument proffered by the Govern-
ment in Rahimi, offering as a historical analogue proposals at var-
ious state ratification conventions which were not adopted ulti-
mately in the text of the Second Amendment. See Rahimi, 61 F.4th
at 457 (stating that proposals of various founding fathers, ulti-
mately not adopted, “might somewhat illuminate the scope of fire-
arms rights at the time of ratification, but they cannot counter the
Second Amendment text, or serve as an analogue for § 922(g)(8) be-
cause, inter alia, they were not enacted”).
   The “virtuous citizen” theory therefore lacks historical support
and is insufficient to demonstrate an historical tradition of regula-
tions “relevantly similar” to § 922(g)(1), as required by Bruen.

                                ***
   The Government cannot show historical evidence distinctly or
relevantly similar to § 922(g)(1) that would illustrate a tradition of
categorically disarming felons. Thus, it cannot overcome the pre-
sumption that § 922(g)(1) violates the Second Amendment. See
Bruen, 142 S. Ct. at 2126. Bruen’s new analytical framework plainly

applies to § 922(g)(1) and renders the statute violative of the Second




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Amendment. The Court should therefore reverse the district court’s
denial of Collette’s motion to suppress and vacate his conviction.
   18 U.S.C. § 922(g)(1) is unconstitutional because it
   exceeds Congress’ power to regulate interstate and
   foreign commerce; alternatively, it should be construed
   to require a closer connection to interstate commerce
   than alleged or admitted in this case.
       Standard of review.
   The Court reviews this issue, raised for the first time on appeal,
using the plain-error standard of review. United States v. Toure, 965
F.3d 393, 399 (5th Cir. 2020); see Fed. R. Crim. P. 52(b). A conviction
under an unconstitutional statute meets the plain error standard.
See United States v. Knowles, 29 F.3d 947, 951–52 (5th Cir. 1994).

That said, Collette acknowledges that this issue is foreclosed. See
United States v. Seekins, No. 21-10556, 2022 WL 3644185, at *2
(5th Cir. Aug. 24, 2022) (per curiam) (unpublished) (summarizing
precedent), petition for cert. filed, No. 22-6853 (U.S. Feb. 21, 2023).
He raises it here for possible further review by the Supreme Court.
       18 U.S.C. § 922(g)(1) exceeds Congress’ power to regu-
       late interstate and foreign commerce.
   Article I, § 8 of the United States Constitution provides: “Con-
gress shall have power … To regulate Commerce with foreign Na-
tions, and among the several States, and with the Indian Tribes ….”




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In United States v. Lopez, 514 U.S. 549 (1995), the Supreme Court
established the test for the scope of Congress’ power to regulate ac-
tivities that “affect” interstate commerce: “We conclude, consistent
with the great weight of our case law, that the proper test requires
an analysis of whether the regulated activity ‘substantially affects’
interstate commerce.” Lopez, 514 U.S. at 559. Lopez seemed to, but
did not expressly, overrule the more permissive test for federal reg-
ulation of gun possession articulated in Scarborough v. United
States, which required only the “minimal nexus that the firearm
have been, at some time, in interstate commerce.” 431 U.S. 563, 575
(1977). A fair reading of Scarborough suggests that the case was
concerned solely with statutory interpretation and did not purport
to resolve any constitutional issues. See United States v. Seekins,
52 F.4th 988, 991 (5th Cir. 2022) (Ho, J., dissenting from denial of

rehearing en banc). This Court has adhered to the view that Scar-
borough’s “minimal nexus” is sufficient both to prove guilt under 18
U.S.C. § 922(g)(1) and to bring any subsequent act of firearm pos-
session within Congress’ power to regulate. See, e.g., United States
v. Alcantar, 733 F.3d 143, 146 (5th Cir. 2013).
   Members of the Supreme Court and judges on lower courts have

acknowledged the irreconcilability of Lopez and a constitutional




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reading of Scarborough. See Alderman v. United States, 562 U.S.
1163, 1166 (2011) (Thomas, J., dissenting from denial of certiorari)
(“Scarborough, as the lower courts have read it, cannot be recon-
ciled with Lopez ….”); see also United States v. Hill, 927 F.3d 188,
215 n. 10 (4th Cir. 2019) (Agee, J., dissenting) (“While some tension
exists between Scarborough and the Supreme Court’s decision in
Lopez, the Supreme Court has not granted certiorari on a case that
would provide further guidance[.]”); United States v. Kuban, 94 F.3d
971, 977 (5th Cir. 1996) (DeMoss, J., dissenting in part) (“[T]he pre-
cise holding in Scarborough is in fundamental and irreconcilable
conflict with the rationale of” Lopez.).
   Judge Ho’s opinion dissenting from denial of rehearing en banc
in Seekins, 52 F.4th at 988–92, is the most recent and thorough ob-
jection to the established view. “In the en banc poll, seven judges

voted in favor of rehearing …, and nine voted against rehearing ….”
Id. at 988.
   If Scarborough is a constitutional decision, then it grants the
federal government unlimited power to regulate the affairs of citi-
zens. See Alderman, 562 U.S. at 1167 (Thomas, J., dissenting from
denial of certiorari) (“[T]he lower courts’ reading of Scarborough, by

trumping the Lopez framework, could very well remove any limit




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on the commerce power.”). Any physical object has almost certainly
crossed a state line at some point in the past. To hold that this past
travel grants Congress a perpetual right to regulate what someone
does or does not do with that object is to eliminate any restrictions
on Congress’ power. See Nat’l Fed’n of Indep. Bus. v. Sebelius, 567
U.S. 519, 557 (2012) (Roberts, C.J.) (“The Commerce Clause is not
a general license to regulate an individual from cradle to grave,
simply because he will predictably engage in particular transac-
tions.”) (hereinafter “NFIB”).
    This unlimited power renders 18 U.S.C. § 922(g)(1) facially un-
constitutional. In NFIB, Chief Justice Roberts noted that “[a]s ex-
pansive as our cases construing the scope of the commerce power
have been, they all have one thing in common: They uniformly de-
scribe the power as reaching ‘activity.”’ 567 U.S. at 551 (emphasis

added). He reasoned that this limitation of Commerce Clause power
to “activities” is a “distinction between doing something and doing
nothing [which] would not have been lost on the Framers, who were
‘practical statesmen,’ not metaphysical philosophers.” Id. at 555
(quoting Industrial Union Dept., AFL-CIO v. American Petroleum
Institute, 448 U.S. 607, 673 (1980) (Rehnquist, J., concurring in




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judgment)). Four other Justices echoed Chief Justice Roberts’s sen-
timent regarding the Commerce Clause analysis, stating that Con-
gress could only regulate “activity affecting commerce[.]” NFIB, 567
U.S. at 658 (Scalia, Kennedy, Thomas, Alito, JJ., dissenting).
   Here, 18 U.S.C. § 922(g)(1) does not require that Collette’s pos-
session of the gun was an economic activity; this ought to be fatal
to the conviction. As explained by NFIB, the Commerce Clause per-
mits Congress to regulate only activities, i.e., the active participa-
tion in a market. But § 922(g)(1) criminalizes all possession, with-
out reference to economic activity. Accordingly, it sweeps too
broadly.
   Further, the statute does not require that Collette be engaged in
the relevant market at the time of the regulated conduct. Chief Jus-
tice Roberts also noted that Congress cannot regulate a person’s ac-

tivity under the Commerce Clause unless the person affected is
“currently engaged” in the relevant market. NFIB, 567 U.S. at 556,
557 (Roberts, C.J.). As an illustration, the Chief Justice provided
the following example: “An individual who bought a car two years
ago and may buy another in the future is not ‘active in the car mar-
ket’ in any pertinent sense.” Id. at 556. As such, NFIB overrules the




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long-standing notion that a firearm which has previously and re-
motely passed through interstate commerce should be considered
to affect commerce indefinitely without “concern for when the [ini-
tial] nexus with commerce occurred.” Scarborough, 431 U.S. at 577.
   Collette’s case illustrates how this Court’s precedent removes
any limitation on Congress’ commerce power. His indictment al-
leged that he “possesse[ed]” two firearms that “ha[d] been shipped
and transported in interstate commerce[.]” ROA.21. The sole evi-
dence offered at trial to support the commerce element was testi-
mony from an ATF agent that the firearms had been manufactured
in Austria and Connecticut and had traveled interstate commerce
to get to Texas. ROA.401–02. The Government offered no proof that
Collette had traveled in interstate commerce to bring the firearms
to Texas, nor even proof that Collette had purchased the firearms

from any vendor participating in interstate commerce.
   Collette thus was convicted under § 922(g)(1) without evidence
that he was “currently engaged” in the gun market at the time of
his arrest, and without evidence showing how recently he came to
possess the gun. So § 922(g)(1) fails to survive NFIB’s Commerce
Clause analysis. The statute has been construed to require only




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that a firearm have traveled in interstate commerce at some previ-
ous time. See Scarborough, 431 U.S. at 575. If it cannot be con-
strued to require commercial activity of some kind by the defend-
ant—something more substantial than mere possession of an item
that may have crossed state lines years ago—it then contains no
jurisdictional element sufficient to bring it within the terms of Con-
gressional power. In the absence of such a jurisdictional element,
the Supreme Court has found federal criminal statutes falling sub-
stantially outside the Commerce power to be unconstitutional,
without pausing to consider whether the particular conduct of the
defendant might have affected commerce. See Lopez, 514 U.S. at
561; United States v. Morrison, 529 U.S. 598, 607 (2000). In other
words, without such an element, comparable statutes have been
found facially unconstitutional.

   Collette concedes that this argument was rejected in Alcantar,
733 F.3d at 145–46, among other cases, but raises it to preserve the
issue for possible further review.




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                           Conclusion
   For these reasons, the Court should reverse the district court’s
denial of his motion to suppress and vacate his conviction.
   Respectfully submitted.

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